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UNITED STATES DISTRICT COURT~
MlDDLE DISTRICT OF FLOR]DA

TAi\/u>A DivisioN
Ui\uTED sTATEs oF AMERICA

v. l cAsE No. 8;18~<:r-204~T-23TGW
JoNATHAN BUDoWsKI,

a/k/ a ‘fHARD TD/,IES”
PLEA AGREEMENT
Pursuant to Fed. R. Crim. P. ll(c), the United States of America, by v
Maria Cbapa Lopez, United States Attorney for the Middle District of
Florida, and the defendant, JONATHAN BU`];)OWSKI, a/k/a “HARD
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TIMES,” and the attorney for the defendant, Wughes, mutually agree as

follows :

A. Particularized Terms

l. Counts Pleading To
The defendant shall enter a plea of guilty to Counts One and
Four of the Supersedmg lndictment.
Count One charges the defendant With knowingly and Willfully
conspiring With others to distribute and possess With intent to distribute 500
grams or more of a mixture and Substance containing a detectable amount of

methamphetamine, a Schedule ll controlled substance, contrary to the

 

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provisions of 21 U.S.C. § 84l(a)(l), in violation of Zl U.S.C. §§ 846,`
84l(b)(l)(A)(viii).

Count Four charges the defendant vvith knowingly using and
carrying a firearm during and in relation to a violation of 21 U.S.C. § 84lta), a
drug trafficking crime for vvhich the defendant may be prosecuted in a Court
of the United States, as vvell as possessing a firearm in furtherance of that same
crime, in violation er is U.s.c. §§ 924(@)(i)(A).

2. l\/linimum and Maxirnum Penalties

Count One is punishable by a mandatory minimum term of
imprisonment of ten years, a maximum sentence of life imprisonment, a fine |
not to exceed $10 million, a term of supervised release of at least five years up
to life, and a special assessment of $10().

Count Four carries a mandatory minimum sentence of five years
of imprisonment, a maximum sentence of life imprisonment, a term of
supervised release not to exceed five years, anda special assessment of $lOO.
By operation of lavv, the sentence attached to Count Four must run
consecutively to any other sentence, including the sentence associated With

Count One. _ _ §§

 

 

 

 

With respect to certain offenses, the Court shall order the

defendant to make restitution to any victim of the offense(s), and vvith respect §

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to other offenses, the Court may order the defendant to make restitution to
any victim of the offense(s), or to the community, as set forth below.
3. Allevne v. United States and Apprendi v. New Jersev

Under Alleyne v. Unz'ted Siaz‘es, 133 S. Ct. 2151 (2013), the
defendant is subject to a mandatory minimum sentence of ten years’
imprisonment as to Count Gne, and under Apprendi v. New ]ersey, 530 U.S. 466
(2000), the Court may impose a maximum sentence of life imprisonment as to
Count One because the following facts have been'admitted by the defendant
and are established by this plea of guilty: the defendant knowingly and
willfully conspired with others to distribute 500 grams or more of a mixture
and substance containing a detectable amount of methamphetamine, a
Schedule ll controlled substance

Under Alleyne v. Unz'ted States, 133 S. Ct._ 2151 (2013), the
defendant is subject to a mandatory minimum sentence of five years’
imprisonment as to Count Four, and under Apprendi v. New J'ersey, 530 U.S.

466 (2000), the Court may impose a maximum sentence of life imprisonment

 

 

as to Count Four because the following facts have been admitted by the

defendant and are established by this plea of guilty: the defendant knowingly

used and carried a.firearm during and in relation to a violation of 21 "U.S.C. l

§ 841(a), a drug trafficking crime for vvhich the defendant may be prosecuted

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in a Court of the United States, as well as possessed a firearm in furtherance of

that same crime.

4. Elements of the Offenses

The defendant acknowledges understanding the nature and

elements of the offense(s) With which defendant has been charged and to

which defendant is pleading guilty.

The elements of Count One are:

First:

Second:

Third:

Two or more people in some way agreed to try to
accomplish a shared and unlawful plan;

The Defendant knew the unlawful purpose of the
plan and willftu joined in it; and

The object of the unlawful purpose of the plan was
to distribute and possess with the intent to distribute
500 grams or more of a mixture and substance
containing a detectable amount of
methamphetamine

The elements of Count Four are:

First:

Second:

The defendant knowingly used, carried, or
possessed a firearm; and

The defendant used or carried the firearm during or
in relation to a “drug trafficking crime,” as that term
is defined in 18 U.S.C. § 924(c)(2), or possessed the
firearm in furtherance of that same crime.

 

 

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5 . Counts Disi~nissed
At the time the defendant formally enters his guilty plea in court,
the United States will dismiss Counts Two and Three pursuant to Fed. R.
Crim. P. ll(c)(l)(A). `
6. No Further Charges
lf the Court accepts this plea agreement, the United States
Attorney‘s Office for the l\/liddle District of Florida agrees not to charge
defendant with committing any other federal criminal offenses known to the
United States Attorney‘s (foice at the time of the execution of this agreement,
related to the conduct giving rise to this plea agreement
7 . Guidelines Sentence
Pursuant to Fed. R. Crim. P. ll(c)(l)(B), the United States will
recommend to the Court that the defendant be sentenced within the
defendant’s applicable guidelines range as, determined by the Court pursuant
to the United States Sentencing Guidelines, as adjusted by any departure the
United States has agreed to recommend in this plea agreement The parties
understand that such a recommendation is not binding on the Court and that,
if it is not accepted by this Court, neither the United States nor the defendant
will be allowed to withdraw from the plea agreement, and the defendant will v

not be allowed to withdraw from the plea of guilty.

 

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8. Accentance of Responsibilitv - Three Levels l ’

At the time of sentencing, and in the event that no adverse
information is received suggesting such a recommendation to be unwarranted,
the United States will recommend to the Court that the defendant receive a
two~level downward adjustment for acceptance of responsibility, pursuant to
U$SG §3El . 1(a)'. rl`he defendant understands that this recommendation or
request is not binding on the ‘Court, and if not accepted by the Court, the
defendant will not be allowed to withdraw from the plea.

Further, at the time of sentencing, if the defendant's offense level
prior to operation of subsection (a) is level 16 or greater, and if the defendant
complies with the provisions of USSG §3El.l(b) and all terms of this Plea
Agreement, including but not limited to, the timely submission of the financial
affidavit referenced in Paragraph B.5., the United States agrees to file a motion
pursuant to USSG §BEl . l(b) for a downward adjustment of one additional
level. The defendant understands that the determination as to whether the
defendant has qualified for a downward adjustment of a third level for
acceptance of responsibility rests solely with the United States Attorney for the

Middle District of Florida, and the defendant agrees that the defendant cannot

 

and will not challenge that determination, whether by appeal, collateral attack,

 

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9. Forfeiture of Assets

The defendant agrees to forfeit to the United States immediately
and voluntarily any and all assets and property, or portions thereof, subject to
forfeiture, pursuant to 21 U.S.C. § 853, 18 U.S.C. § 924(d), and 28 U.S.C.
§ 246l(c), whether in the possession or control of the United States, the
defendant or defendant's nominees.

The assets to be forfeited include, but are not limited to, a Taurus
Judge .44 caliber revolver, a Taurus Curve .380 caliber revolver, a Sig Sauer
model P320 nine-millimeter pistol, a Del-Ton lnc. model DTl-15 5.56
millimeter rifle, a l\/lossberg model 500E .410 pump action shotgun, assorted
rounds of Federal nine-millimeter, .223 and nine~millimeter ammunition,
approximately three rounds of CCl .380 caliber ammunition, assorted rounds
of Remington .410 gauge, .380, .44 and .223 caliber ammunition, assorted
rounds of Winchester 20 gauge, .380, .223 and 5 .56 millimeter ammunition,
approximately one round of PMC .380 caliber ammunition, and approximately
three rounds of PMP .223 caliber ammunition, which assets were involved or
used in the offenses to which the defendant is pleading guilty.

The defendant agrees and consents to the forfeiture of these assets
pursuant to any federal criminal, civil judicial or administrative forfeiture
action. The defendant also agrees to waive all constitutional, statutory and

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procedural challenges (including direct appeal, habeas corpus, or any other
means) to any forfeiture carried out in accordance with this Plea Agreement on
any grounds, including that the forfeiture described herein constitutes an
excessive fine, was not properly noticed in the charging instrument, addressed
by the Court at the time of the guilty plea, announced at sentencing, or
incorporated into the judgment

The defendant admits and agrees that the conduct described in the
Factual Basis below provides a sufficient factual and statutory basis for the
forfeiture of the property sought by the government Pursuant to Rule
32.2(b)(4), the defendant agrees that the preliminary order of forfeiture will
satisfy the notice requirement and will be final as to the defendant at the time it
is entered. ln the event the forfeiture is omitted from the judgment, the
defendant agrees that the forfeiture order may be incorporated into the written
judgment at any time pursuant to Rule 36.

The defendant agrees to take all steps necessary to identify and
locate all property subject to forfeiture and to transfer custody of such property
to the United States before the defendant’s sentencing The defendant agrees to
be interviewed by the government, prior to and after sentencing, regarding such
assets and their connection to criminal conduct The defendant further agrees

to be polygraphed on the issue of assets, if it is deemed necessary by the United

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States. T he defendant agrees that Federal Rule of Criminal Procedure ll and
USSG § lBl.8 will not protect from forfeiture assets disclosed by the defendant
as part of the defendant’s cooperation

The defendant agrees to take all steps necessary to assist the
government in obtaining clear title to the forfeitable assets before the
defendant’s sentencing ln addition to providing full and complete information
about forfeitable assets, these steps include, but are not limited to, the surrender
of title, the signing of a consent decree of forfeiture, and signing of any other
documents necessary to effectuate such transfers To that end, the defendant
agrees to make a full and complete disclosure of all assets over which defendant
exercises control directly or indirectly, including all assets held by nominees, to
execute any documents requested by the United States to obtain from any other
parties by lawful means any records of assets owned by the defendant and to
consent to the release of the defendant’s tax returns for the previous live years.
The defendant agrees to be interviewed by the government, prior to and after
sentencing, regarding such assets and their connection to criminal conduct

The defendant agrees that the United States is not limited to
forfeiture of the property specifically identified for forfeiture in this Plea
Agreement. If the United States determines that property of the defendant

identified for forfeiture cannot be located upon the exercise of due diligence; has

 

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been transferred or sold to, or deposited With, a third party; has been placed
beyond the jurisdiction of the Court; has been substantially diminished in value;
or has been commingled with other property which cannot be divided without
difficulty; then the United States shall, at its option, be entitled to forfeiture of
any other property (substitute assets) of the defendant up to the value of any
property described above The Defendant expressly consents to the forfeiture
of any substitute assets sought by the Government. The defendant agrees that
forfeiture of substitute assets as authorized herein shall not be deemed an
alteration of the defendants sentence

Forfeiture of the defendant's assets shall not be treated as
satisfaction of any fine, restitution, cost of imprisonment or any other penalty
the Court may impose upon the defendant in addition to forfeiture

The defendant agrees that, in the event the Court determines that
the defendant has breached this section of the Plea Agreement, the defendant
may be found ineligible for a reduction in the Guidelines calculation for
acceptance of responsibility and substantial assistance, and may be eligible for
an obstruction of justice enhancement

The defendant agrees that the forfeiture provisions of this plea
agreement are intended to, and will, survive the defendant notwithstanding the
abatement of any underlying criminal conviction after the execution of this

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agreement The forfeitability of any particular property pursuant to this
agreement shall be determined as if the defendant had survived, and that
determination shall be binding upon defendant’s heirs, successors and assigns
until the agreed forfeiture, including satisfaction of any preliminary order of
forfeiture for proceeds.
B. Standard Terms and Conditions
1. Restitution. Snecial Assessment and Fine

The defendant understands and agrees that the Court, in addition
to or in lieu of any other penalty, M order the defendant to make restitution
to any victim of the offense(s), pursuant to 18 U.S.C. § 3663A, for all offenses
described in 18 U.S.C. § 3663A(c)(l); and the Court may order the defendant
to make restitution to any victim of the offense(s), pursuant to 18 U.S.C. §
3663, including restitution as to all counts charged, whether or not the
defendant enters a plea of guilty to such counts, and whether or not such
counts are dismissed pursuant to this agreement The defendant further
understands that compliance with any restitution payment plan imposed by
the Court in no way precludes the United States from simultaneously pursuing
other statutory remedies for collecting restitution (28 U.S.C. § 3003(b_)(2)),

including, but not limited to, garnishment and execution, pursuant to the

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Mandatory Victims Restitution Act, in order to ensure that the defendants
restitution obligation is satisfied
On each count to which a plea of guilty is entered, the Court
shall impose a special assessment pursuant to 18 U.S.C. § 3013. To ensure
that this obligation is satisfied, the Defendant agrees to deliver a check or
money order to the Clerk of the Court in the amount of $100.00, payable to
"Clerk, U.S. District Court" within ten days of the change of plea hearing
The defendant understands that this agreement imposes no
limitation as to fine
2. Supervised Release
The defendant understands that the offenses to which the
defendant is pleading provide for imposition of a term of supervised release
upon release from imprisonment and that, if the defendant should violate the
conditions of release, the defendant would be subject to a further term of
imprisonment
3. lmmigation Conseguences of Pleading Guilty
The defendant has been advised and understands that, upon
conviction, a defendant who is not a United States citizen may be removed
from the United States, denied citizenship, and denied admission to the

United States in the future

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4. Sentencing lnformation

The United States reserves its right and obligation to report to the
Court and the United States Probation Office all information concerning the
background, character, and conduct of the defendant to provide relevant
factual information, including the totality of the defendants criminal activities,
if any, not limited to the counts to which defendant pleads, to respond to
comments made by the defendant or defendants counsel, and to correct any
misstatements or inaccuracies The United States further reserves its right to
make any recommendations it deems appropriate regarding the disposition of
this case, subject to any limitations set forth herein, if any.

5. Financial Disclosures

Pursuant to 18 U.S.C. § 3664(d)(3) and Fed. R. Crim. P.
32(d)(2)(A)(ii), the defendant agrees to complete and submit to the United
States Attorney‘s Oifice within 30 days of execution of this agreement an
affidavit reflecting the defendants financial condition The defendant
promises that his financial statement and disclosures will be complete,
accurate and truthful and will include all assets in which he has any interest or
over which the defendant exercises control, directly or indirectly, including
those held by a spouse, dependent nominee or other third party. The
defendant further agrees to execute any documents requested by the United

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States needed to obtain from any third parties any records of assets owned by
the defendant directly or through a nominee, and, by the execution of this
Plea Agreement consents to the release of the defendants tax returns for the
previous five years. The defendant similarly agrees and authorizes the United
States Attorney's Office to provide to, and obtain from, the United States
Probation Office, the financial affidavit any of the defendants federal, state,
and local tax returns, bank records and any other financial information
concerning the defendant for the purpose of making any recommendations to
the Court and for collecting any assessments, fines, restitution, or forfeiture
ordered by the Court The defendant expressly authorizes the United States
Attorney's Office to obtain current credit reports in order to evaluate the
defendants ability to satisfy any financial obligation imposed by the Court.
6. Sentencing Recommendations

lt is understood by the parties that the Court is neither a party to
nor bound by this agreement The Court may accept or reject the agreement
or defer a decision until it has had an opportunity to consider the presentence
report prepared by the United States Probation Office. T he defendant
understands and acknowledges that although the parties are permitted to
make recommendations and present arguments to the Court the sentence will

be determined solely by the Court with the assistance of the United States

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Probation foice. Defendant further understands and acknowledges that any
discussions between defendant or defendants attorney and the attorney or
other agents for the government regarding any recommendations by the
government are not binding on the Court and that, should any
recommendations be rejected, defendant will not be permitted to withdraw
defendants plea pursuant to this plea agreement The government expressly
reserves the right to support and defend any decision that the Court may make
with regard to the defendants sentence, whether or not such decision is
consistent with the governments recommendations contained herein.

7. Defendant’s Waiver of Right to Appeal the Sentence

The defendant agrees that this Court has jurisdiction and

authority to impose any sentence up to the statutory maximum and expressly
waives the right to appeal defendants sentence on any ground, including the
ground that the Court erred in determining the applicable guidelines range
pursuant to the United States Sentencing Guidelines, except (a) the ground
that the sentence exceeds the defendants applicable guidelines range a_s
determined by the Court pursuant to the United States Sentencing Guidelines;
(b) the ground that the sentence exceeds the statutory maximum penalty; or (c)
the ground that the sentence violates the Eighth Amendment to the

Constitution; provided, however, that if the government exercises its right to

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appeal the sentence imposed, as authorized by 18 U.S.C. § 3742(b), then the
defendant is released from his waiver and may appeal the sentence as
authorized by 18 U.S.C. § 3742(a).
8. Middle District of Florida Agreement
lt is further understood that this agreement is limited to the
Office of the United States Attorney for the l\/liddle District of Florida and
cannot bind other federal, state, or local prosecuting authorities, although this
office will bring defendants cooperation, if any, to the attention of other
prosecuting officers or others, if requested.
9. Filing of Agreement
This agreement shall be presented to the Court in open court or
in camera, in whole or in part upon a showing of good cause, and filed in this
cause, at the time of defendants entry of a plea of guilty pursuant hereto.
10. Voluntariness
The defendant acknowledges that defendant is entering into this
agreement and is pleading guilty freely and voluntarily without reliance upon
any discussions between the attorney for the government and the defendant
and defendants attorney and without promise of benefit of any kind (other
than the concessions contained herein), and Without threats, force,

intimidation, or coercion of any kind. The defendant further acknowledges

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defendants understanding of the nature of the offense or offenses to which
defendant is pleading guilty and the elements thereof, including the penalties
provided by law, and defendants complete satisfaction with the representation
and advice received from defendants undersigned counsel (if any). The
defendant also understands that defendant has the right to plead not guilty or
to persist in that plea if it has already been made, and that defendant has the
right to be tried by a jury with the assistance of counsel, the right to confront
and cross-examine the witnesses against defendant the right against
compulsory self~incrimination, and the right to compulsory process for the
attendance of witnesses to testify in defendants defense; but by pleading
guilty, defendant Waives or gives up those rights and there will be no trial.
The defendant further understands that if defendant pleads guilty, the Court
may ask defendant questions about the offense or offenses to which defendant
pleaded, and if defendant answers those questions under oath, on the record,
and in the presence of counsel (if any), defendants answers may later be used
against defendant in a prosecution for perjury or false statement The
defendant also understands that defendant will be adjudicated guilty of the
offenses to Which defendant has pleaded and, if any of such offenses are
felonies, may thereby be deprived of certain rights, such as the right to vote, to

hold public office, to serve on a jury, or to have possession of firearms

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ll. Factual Basis

Defendant is pleading guilty because defendant is in fact guilty.
The defendant certifies that defendant does hereby admit that the facts set
forth below are true, and were this case to go to trial, the United States would
be able to prove those specific facts and others beyond a reasonable doubt

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From at least 2016 to the date of his arrest October 2, 2017, the
defendant Jonathan BUDOWSKI, also known as “HARD TlMES,” bought
and sold methamphetamine in multi-ounce quantities within the Middle
District of Florida.

From 2016 to 2017, a coconspirator (CC-l) sold
methamphetamine to BUDOWSKI on at least four to eight occasions, with
each transaction occurring in the l\/fiddle District of Florida and involving four
to eight ounces of methamphetamine BUDOWSKI purchased at least 448 to
1,7 92 grams of methamphetamine from CC-l over this time period. CC~l’s
final sale of methamphetamine to BUDOWSKI occurred within a few days of
BUDOWSKl’s state arrest in this case on October 2, 2017. On that date,
BUDOWSKI informed CC-l that he wished to purchase eight ounces (224
grams) of methamphetamine from CC~l and asked CC~l to “front” (provide

him free of charge, with payment due later, upon resale) an additional eight

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ounces of methamphetamine for a total of sixteen ounces (448 grams). CC-l
refused to “front” BUDOWSKI methamphetamine at that time, however, so
BUDOWSKI acquired only the eight ounces of methamphetamine he could
pay for on that date

CC-2 regularly observed CC~3’s methamphetamine trafficking
activities and observed BUDOWSKI purchase methamphetamine from CC~3
on a regular basis, once or twice a week for a period of at least two months in
2017. fn each of these transactions CC-Z observed BUDOWSKI purchase
four to ten ounces (112~280 grams) of methamphetamine from CC-3.
BUDOWSKl intended to resell the methamphetamine to customers in smaller
quantities

CC-4 purchased one ounce quantities of methamphetamine from
the defendant on at least two occasions Additionally, CC-4 purchased much
larger quantities of methamphetamine from CC~3, one of BUDOWSKl’s
suppliers and coconspirators BUDOWSKI facilitated many of these
transactions between CC~3 and CC-4, several of which occurred at
BUDOWSKl’s house On one such occasion, BUDOWSKI facilitated CC~4
purchasing twelve ounces of methamphetamine from CC-3.

From approximately November 2016 through approximately

.lanuary 2017, CC-5 purchased methamphetamine from BUDOWSKI on a

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regular basis CC-S conducted at least five transactions with BUDOWSKI, all
of which occurred at BUDOWSKl’s house and involved at least % ounce (7
grams) of methamphetamine

BUDOWSKI admits that the firearms and ammunition,
specifically, a Taurus Judge .44 caliber revolver, a Taurus Curve .380 caliber
revolver, a Sig Sauer model P320 nine-millimeter pistol, a Del-Ton Inc. model
DTI-l$ 5.56 millimeter rifle, a Mossberg model 500E .410 pump action
shotgun, assorted rounds of Federal nine-millimeter, .223 and nine-millimeter
ammunition, approximately three rounds of CCI .380 caliber ammunition,
assorted rounds of Remington .410 gauge, .380, .44 and .223 caliber
ammunition, assorted rounds of Winchester 20 gauge, .380, .223 and 5.56
millimeter ammunition, approximately one round of PMC .380 caliber
ammunition, and approximately three rounds of PMP .223 caliber
ammunition, were involved in or used in the conspiracy to which he is
pleading guilty.

The above is merely a brief summary of the events, some of the
persons involved, and other information relating to this case. lt does not
include, nor is it intended to include, all of the events, persons involved, or

other information relating to this case.

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12. Entire Agreement

This plea agreement constitutes the entire agreement between the
government and the defendant with respect to the aforementioned guilty plea
and no other promises, agreements or representations exist or have been
made to the defendant or defendant's attorney with regard to such guilty plea

13. Certification
The defendant and defendant's counsel certify that this plea

agreement has been read in its entirety by (or has been read to) the defendant

and that defendant fully understands its terms
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” day of April, 2019.

MARIA C A LOPEZ
United S Attorney

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DATED this

 

 

 

   

 

 

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Defenbant,f Ass' tant United States Attorney
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Jasori Maybfr Christopher F. Murray U
Attorney fo ljefendant Assistant United States Attorney

Chief, Violent Crimes and

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Individual Declaration as to Payment of
Special Assessment Unon Conviction

l, Jonathan Budowski, a defendant in Case No 8:18-cr-204-T~23-TGW,
hereby acknowledge that, in accordance With 18 U. S. C § 3013(a), upon sentencing l
will owe the following amount:

For Felony'Offenses Committed before April 24, 1996:

Felony count: $5 0 x______ counts - $
For Felony Offenses Committed On or After April 24,1996:
, Felony count: $100 X L counts - $__i_§_@__

For Misdeineanors, Regardless of Date of Offense:

Class A Misdemeanor count: $25 x counts = $
Class B l\/.[isdemeanor count: $10 x counts = $
Class C Misdemeanor count or infraction: $5 x counts = $»

Total Snecial Assessment Due: $ i@ 6
Please check ge of the following paragraphs and fill in the blanks as appropriate.

___ l hereby tender a check made payable to the Clerk, United States District
Court, in the amount of $ . Payment is for full or partial satisfaction of the
special assessment imposed upon me and is being delivered to the Clerk’s Office~of
the Tampa Division, with a copy of this document

,___ I am temporarily unable to pay the special assessment but will pay the same in
full on or before the date of sentencing by tendering a check/ money order made
payable to the Clerk, United States District Court, in the amount of $ and
delivering it to the Clerk of Court of the Tampa Division, with a copy of this ‘
document

/ _
l As reflected in the sworn financial statement submitted herewith, I am unable
to pay the special assessment now and in the foreseeable future.

"~i / § S/f a ' -
Date Jonathar%ti€lbwgv§kf

 

 

 

